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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 18-20953-CR-COOKE


  UNITED STATES OF AMERICA

  v.

  TERRANCE REYNOLDS,

  Defendant.
  ________________________________/

                                   GOVERNMENT WITNESS LIST

            The United States submits the following exhibit list for the trial of the above-captioned

  matter.

        1. Michael Burcks
        2. Yandro Lopez-Malpica
        3. Andre Lopez
        4. Leandro Matos-Garcia
        5. Francisco Bonilla-Rodriguez
        6. Brendan Butler
        7. Correctional Officer Alicia Owens-Wallace
        8. Correctional Officer Tanya McLeod (former)
        9. Correctional Officer Judson Leopold
       10. Correctional Officer Tanaisha Clarke
       11. Captain Jose Navarro
       12. FDOC IG Senior Inspector George Montenegro
       13. Dr. Gerardo Pedroza
       14. Luke Moravek
       15. FBI Special Agent Maria Houser
       16. FBI Agent Willie Creech
       17. FBI Staff Operations Specialist Fabio Marchitelli
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    18. Nurse Crissy Leann Kirkland
    19. Nurse Kristina Zebley
    20. Correctional Officer Camus Arne
    21. Correctional Officer Latasha Walker




                                                     Respectfully Submitted,

  ARIANA FAJARDO ORSHAN                              ERIC S. DREIBAND
  UNITED STATES ATTORNEY                             ASSISTANT ATTORNEY GENERAL


  s/ Robert K. Senior                                s/ Samantha Trepel
  ROBERT K. SENIOR                                   SAMANTHA TREPEL
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                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on June 4, 2019, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF.

                                              s/ Samantha Trepel________________
                                              SAMANTHA TREPEL
                                              Trial Attorney

                                              s/ Robert K. Senior
                                              ROBERT K. SENIOR
                                              Assistant United States Attorney
